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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                LUFKIN DIVISION

 UNITED STATES OF AMERICA                    §
                                             §
                                             §
 VS.                                         §    CASE NO. 9:11-CR-33(10)
                                             §
                                             §
 MANDY NICOLE SLOMBA                         §

       FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
            BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United

 States Magistrate Judge for administration of a guilty plea and allocution under Rules 11

 and 32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory

 authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5 th Cir. 2002),

 cert. denied, 123 S. Ct. 1642 (2003).

        On December 13, 2011, this cause came before the undersigned United States

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 Magistrate Judge for entry of a guilty plea by the defendant, Mandy Nicole Slomba, on

 Count 37 of the charging Indictment filed in this cause.

        Count 37 of the Indictment charges that on June 9, 2009, in the Eastern District of

 Texas, defendant Mandy Nicole Slomba did knowingly and intentionally possess

 pseudoephedrine, a List 1 chemical, with intent to manufacture a controlled substance, or

 with knowledge or reasonable cause to believe that the listed chemical would be used for

 the unauthorized manufacture of a controlled substance, namely a mixture or substance

 containing a detectable amount of methamphetamine, in violation of Title 21 U.S.C.

 § 841(c)(1) and (c)(2). Specifically, Count 37 charges that on or about June 9, 2009, at

 6:51 pm at the Wal-Mart Pharmacy #10-0140 in Lufkin, Texas, Mandy Nicole Slomba

 possessed 1.44 gm of pseudoephedrine in this manner.

        Defendant, Mandy Nicole Slomba, entered a plea of guilty to Count 37 of the

 Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 the Court finds:

        a.     That Defendant, after consultation with counsel of record, has knowingly,

 freely and voluntarily consented to the administration of the guilty plea in this cause by a

 United States Magistrate Judge in the Eastern District of Texas subject to a final approval

 and imposition of sentence by the District Court.

        b.     That Defendant and the Government have entered into a plea agreement

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 which was disclosed and addressed in open court, entered into the record, and placed

 under seal.

        c.     That Defendant is fully competent and capable of entering an informed

 plea, that Defendant is aware of the nature of the charges and the consequences of the

 plea, and that the plea of guilty is a knowing, voluntary and freely made plea. Upon

 addressing the Defendant personally in open court, the Court determines that Defendant’s

 plea is voluntary and did not result from force, threats or promises. See F ED. R. C RIM. P.

 11(b)(2).

        d.     That Defendant’s knowing, voluntary and freely made plea is supported by

 an independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that her conduct falls within the definition of the crime charged under

 21 U.S.C. § 841(c)(2).

                               STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual

 resume. See The Factual Resume. In support, the Government and Defendant stipulated

 that if this case were to proceed to trial the Government would prove beyond a reasonable

 doubt, through the sworn testimony of numerous witnesses, each and every essential

 element of the crime charged in Count 37 of the Indictment. The Court incorporates the

 proffer of evidence described in detail in the factual resume in support of the guilty plea.

        Defendant, Mandy Nicole Slomba, agreed with and stipulated to the evidence

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 presented in the factual resume. Counsel for Defendant and the Government attested to

 Defendant’s competency and capability to enter an informed plea of guilty.                                                 The

 Defendant agreed with the evidence presented by the Government and personally testified

 that she was entering her guilty plea knowingly, freely and voluntarily.

                                      RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States

 Magistrate Judge that the District Court accept the Guilty Plea of Defendant which the

 undersigned determines to be supported by an independent factual basis establishing each

 of the essential elements of the offense charged in Count 37 of the charging Indictment

 on file in this criminal proceeding. The Court also recommends that the District Court

 accept the plea agreement.1 Accordingly, it is further recommended that, Defendant,

 Mandy Nicole Slomba, be finally adjudged as guilty of the charged offense under Title 21,

 United States Code, Section 841(c)(2).



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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report.     At the plea hearing, the Court admonished the

 Defendant that the District Court may reject the plea and that the District Court can

 decline to sentence Defendant in accordance with the plea agreement, the federal

 sentencing guidelines and/or the presentence report because the sentencing guidelines are

 advisory in nature. The District Court may defer its decision to accept or reject the plea

 agreement until there has been an opportunity to consider the presentence report. See F ED.

 R. C RIM. P. 11(c)(3).   If the Court rejects the plea agreement, the Court will advise

 Defendant in open court that it is not bound by the plea agreement and Defendant may

 have the opportunity to withdraw the guilty plea, dependent upon the type of the plea

 agreement. See F ED. R. C RIM. P. 11(c)(3)(B).      If the plea agreement is rejected and

 Defendant still persists in the guilty plea, the disposition of the case may be less favorable

 to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                       OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within

 fourteen (14) days after being served with a copy of this report.          See 28 U.S.C. §

 636(b)(1).

        A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen,

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 857 F.2d 275, 276-77 (5 th Cir. 1988), and (2) appellate review, except on grounds of plain

 error of unobjected-to factual findings and legal conclusions accepted by the district court,

                                                                 th
 see
  . Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5 Cir. 1996) (en banc).

 The constitutional safeguards afforded by Congress and the courts require that, when a

 party takes advantage of his right to object to a magistrate’s findings or recommendation, a

 district judge must exercise its nondelegable authority by considering the actual evidence

 and not merely by reviewing and blindly adopting the magistrate’s report and

 recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5 th Cir. 1983); United

 States v. Elsoffer, 644 F.2d 357, 359 (5 th Cir. 1981) (per curiam).


                    SIGNED this the 14th day of December, 2011.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE




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